Case 1:04-cr-10095-.]DT Document 18 Filed 07/06/05 Page 1 of 2 Page|D 17

IN THE UNITED STATES DISTRICT COURT'?/ ` z
FOR THE WESTERN DISTRICT OF TENN;}ESSEE § '
EASTERN DIVISION ` 1

UNITED STATES OF AMERlCA,

  

Plaintiff,
VS. No. 04-]0095T
NICHOLAS DEANGELO MARTIN,

Defendant.

ORDER CONTINUING TRIAL AND REPORT DATE
AND EXCLUDING DELAY

Upon motion of counsel for defendant, with no objection from the government and for
good cause shown, the report date which is currently scheduled for July 7, 2005, and the trial
date which is currently scheduled for ]uly 18, 2005, are hereby continued. The defendant
contends that additional time is needed to prepare for trial.

The court finds that defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice will be served by granting a continuance in order to allow the defendant more time to
prepare for trial. Accordinalv` the trial is continued from Julv 18_ 2005. to Auaust 8. 2005. at
9:30 A.M. The resulting period ofdelay, from Ju]y 18, 2005, to August 8, 2005, is excluded
pursuant to 18 U.S.C. § 3l6l(h)(8)(A).

A new report/motion date has been set for July 29, 2005, at 9:00 a.m.

IT IS SO ORDERED.

    

ED STATES DISTRICT .TUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 1:04-CR-10095 was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

